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  IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

        MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION


UNITED STATES OF AMERICA           )
                                   )       CRIMINAL ACTION NO.
        v.                         )           2:20cr44-MHT
                                   )               (WO)
TIFFANY CULLIVER FRANKLIN          )

                                ORDER

    This case is before the court on defendant Tiffany

Culliver Franklin’s unopposed motion to continue the

December 7, 2020 trial (doc. no. 33).             Defendant seeks a

continuance    because     defense      counsel   is   scheduled       to

handle another jury trial in an older case on the same

date.    Because the court would like to be more sure that

the other trial is going forward before continuing this

trial, the court will postpone deciding the motion to

continue until early November.

    Accordingly, it is ORDERED that a conference call is

set for November 2, 2020, at 1:00 p.m. to discuss the

motion to continue.       The courtroom deputy shall arrange

for the call.

    DONE, this the 19th day of October, 2020.

                                   /s/ Myron H. Thompson
                                UNITED STATES DISTRICT JUDGE
